        2:15-cv-02136-CSB-EIL # 229-1             Page 1 of 2                                          E-FILED
                                                                       Sunday, 19 August, 2018 10:09:08 AM
                                                                               Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF ILLINOIS, URBANA DIVISION

                                 )
HYE-YOUNG PARK, a/k/a LISA PARK, )
                                 )
      Plaintiff,                 )
                                 )
      v.                         ) Case No.:15-cv-2136
                                 )
MICHAL T. HUDSON, individually,  )
HEIDI JOHNSON, individually,     )
CHARLES SECOLSKY, individually,  )
ROBERT STAKE, individually,      )
and THE BOARD OF TRUSTEES OF THE )
UNIVERSITY OF ILLINOIS,          )
                                 )
      Defendants.                )
                                 )

                        PLAINTIFF’S SECOND MOTION IN LIMINE


       NOW COMES the Plaintiff, HYE-YOUNG PARK (“Park”), by her attorney, M. Dennis

Mickunas, and for her Motion in Limine states as follows.

                                           ARGUMENT

       Plaintiff moves to bar defendants from accusing the plaintiff of racism or of referring to

any of plaintiff’s statements or acts as racist. There is no evidence whatsoever that Park is racist

or that her ethnological research is racist.   Such an accusation would be absolutely false, highly

inflammatory, unfairly prejudicial, and.is barred by FED. R. EVID. 402 and 403. Even assuming,

arguendo, that plaintiff is racist, that would have no relevance to the issues in this case and is

barred by FED. R. EVID. 402 and 403.
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                                           CONCLUSION

        Wherefore, Plaintiff, HYE-YOUNG PAK hereby requests that this court grant her motion

in limine and instruct the Defendant CHARLES SECOLSKY, defendant’s counsel and witnesses

to not reference or disclose to the jury any matters suggesting that the Plaintiff is racist..



Dated: August 19, 2018                          Respectfully submitted,



                                                HYE-YOUNG PARK
                                        By:    s/ Marshall Dennis Mickunas______________
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